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 5
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 6   John Hancock Life Insurance Company (U.S.A.)
 7
 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10
11   JOHN HANCOCK LIFE INSURANCE                  Case No.   2:24-cv-05876
     COMPANY (U.S.A.), a corporation,
12
                      Plaintiff,
13                                                PLAINTIFF JOHN HANCOCK LIFE
                vs.                               INSURANCE COMPANY (U.S.A.)’S
14                                                COMPLAINT FOR:
     THE ESTATE OF SUSAN G.                       (1) FRAUD;
15   STETTNER, DANA RUBENSTEIN, and               (2) NEGLIGENT MISREPRESENTATION;
     DOES 1 through 10, inclusive,                (3) MONEY HAD AND RECEIVED;
16                                                (4) DECLARATORY RELIEF
                  Defendants.
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18                                                DEMAND FOR JURY TRIAL
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 1         Plaintiff JOHN HANCOCK LIFE INSURANCE COMPANY (U.S.A.) (“John
 2   Hancock” or “Plaintiff”), through undersigned counsel, files this complaint against
 3   Defendants THE ESTATE OF SUSAN G. STETTNER, DANA RUBENSTEIN, and
 4   DOES 1 through 10, (collectively, “Defendants”), and in support thereof, alleges the
 5   following:
 6
 7                                        INTRODUCTION
 8         1.     Through this lawsuit, John Hancock seeks to recover the money that
 9   Defendants have taken from John Hancock through the submission of false and
10   fraudulent claims under a long-term care insurance policy issued by John Hancock to the
11   now deceased Susan G. Stettner (“Ms. Stettner”). As described more fully in this
12   Complaint, Defendants routinely submitted claims to John Hancock for payment of
13   caregiver services that were, in fact, never rendered. As a result of this fraudulent
14   scheme, John Hancock was induced to pay Defendants a total of $641,200.91 in benefits
15   under the policy’s long-term care provisions.
16
17                                              PARTIES
18         2.     John Hancock is an insurance company organized and existing under the
19   laws of the State of Michigan, with its principal place of business located in Boston,
20   Massachusetts. At all relevant times, John Hancock is and has been authorized to transact
21   business in the State of California.
22         3.     At the time of her death on February 16, 2024, Ms. Stettner resided in Los
23   Angeles, County, California, and at all times she was a citizen of the State of California.
24   Ms. Stettner is survived by her son, Brett Stettner, who, upon information and belief, is
25   the personal representative of Ms. Stettner’s Estate. Upon further information and belief,
26   Brett Stettner is an adult individual residing in Los Angeles County, California, and he
27   is a citizen of the State of California.
28


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 1         4.     Dana Rubenstein (“Ms. Rubenstein”) is an adult individual residing in Los
 2   Angeles, California, and she is a citizen of the State of California.
 3         5.     John Hancock is presently unaware of the true names and capacities of
 4   defendants named herein as DOES 1 through 10, and John Hancock has therefore named
 5   such defendants by fictitious names. John Hancock will seek leave of Court to amend
 6   the Complaint to state the true names and capacities of the DOE defendants when the
 7   same are ascertained.
 8         6.     John Hancock is informed and believes, and based upon such information
 9   and belief alleges, that each Defendant was acting as the agent of the other Defendants,
10   that Defendants were acting in concert with one another with regard to all actions
11   described herein, and that Defendants therefore are all liable for the relief and damages
12   sought herein.
13
14                               JURISDICTION AND VENUE
15         7.     This Court has subject matter jurisdiction over this lawsuit pursuant to 28
16   U.S.C. § 1332 because there is diversity of citizenship between John Hancock and
17   Defendants and the amount in controversy exceeds the sum of $75,000.00, exclusive of
18   interest and costs.
19         8.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because this is
20   the judicial district in which one or more of the Defendants reside, and because this is the
21   judicial district in which a substantial part of the acts and omissions giving rise to John
22   Hancock’s claims against Defendants occurred.
23
24       FACTUAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
25         9.     On December 24, 2003, John Hancock issued a long-term care insurance
26   policy to Ms. Stettner—Policy No. 1372031 (the “Policy”).
27
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 1         10.    Under the Policy, Ms. Stettner was eligible to receive payment of the
 2   Policy’s benefits as reimbursement for expenses incurred for certain qualified long-term
 3   care services.
 4         11.    In order to receive reimbursement of qualified long-term care services, the
 5   Policy required Ms. Stettner to satisfy the following eligibility requirements:
 6                Eligibility for the Payment of Benefits
 7                You1 are eligible for benefits under this Policy if:
 8                • You need Substantial Assistance to perform at least two of the
                    Activities of Daily Living; or
 9
                  • You require Substantial Supervision to protect Yourself from
10                  threats to health and safety due to the presence of a Cognitive
                    Impairment.
11
12         12.        The Policy defines “Activities of Daily Living” as follows:
13                Activities of Daily Living means the following activities:
14                • Bathing which means washing Yourself by sponge bath; or in
                    either a tub or shower, including the task of getting into or out
15                  of the tub or shower.
16                • Continence which means the ability to maintain control of
                    bowel and bladder functions; or when unable to maintain
17                  control of bowel or bladder functions, the ability to perform
                    associated personal hygiene (including caring for catheter or
18                  colostomy bag.)
19                • Dressing which means putting on and taking off all items of
                    clothing and any necessary braces, fasteners or artificial
20                  limbs.
21                • Eating which means feeding Yourself by getting food into the
                    body from a receptacle (such as a plate, cup or table) or by a
22                  feeding tube or intravenously. Eating does not include
                    preparing a meal.
23
                  • Toileting which means getting to and from the toilet, getting
24                  on and off the toilet, and performing associated personal
                    hygiene.
25
26
27
     1 The Policy states: “You, Your and Yourself means the person listed in the Policy
28
     Schedule as the Insured.” The Policy lists Ms. Stettner as the Insured.

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 1                • Transferring which means moving into or out of a bed, chair
                    or wheelchair. Transferring does not include the task of
 2                  getting into or out of the tub or shower.
 3
           13.    The Policy defines “Cognitive Impairment” as follows:
 4
                   Cognitive Impairment means a deficiency in a person’s short-
 5                 term or long-term memory; orientation as to person, place, or
                   time; deductive or abstract reasoning; or judgment as it relates
 6                 to safety awareness. Your Cognitive Impairment must be
                   established and reliably measured by clinical evidence and
 7                 standardized tests. The need for Substantial Supervision due to
                   the presence of Cognitive Impairment must be established by
 8                 such clinical evidence and standardized tests.
 9
           14.    The Policy defines “Substantial Assistance” as follows:
10
                  Substantial Assistance means You need hands-on or standby
11                assistance while You are performing an Activity of Daily Living.
12                • Hands-on assistance means the physical assistance of another
                    person without which You would be unable to perform the
13                  Activity of Daily Living.
14                • Standby assistance means the presence of another person
                    within arm’s reach of You that is necessary to prevent, by
15                  physical intervention, injury to You while You are
                    performing the Activity of Daily Living.
16
17         15.    The Policy defines “Substantial Supervision” as follows:
18                Substantial Supervision means You need continual supervision
                  due to Your Cognitive Impairment (which may include cueing
19                by verbal prompting, gestures, or other demonstration) by
                  another person that is necessary to protect You from threats to
20                Your health or safety (such as may result from wandering).
21
           16.    The Policy further requires the qualified long-term care services to be
22
     provided by a “Home Health Care Provider” approved by John Hancock, defined in the
23
     Policy, in relevant part, as follows:
24
                  Home Health Care Provider means either a Home Health
25                Agency or an Independent Home Health Care Provider that
                  provides Home Health Care. A Home Health Care Provider
26                cannot be a member of Your Immediate Family except as
                  provided in the "Exceptions" section of the Policy…
27
                      • An Independent Home Health Care Provider means a
28                      care provider not employed by a Home Health Agency
                        who meets one of the following requirements. He or she:

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 1                         • is a duly licensed registered nurse, licensed
                             vocational nurse, licensed practical nurse, physical
 2                           therapist, occupational therapist, speech therapist,
                             respiratory therapist, licensed social worker, or
 3                           registered dietitian;
 4                         • must be currently qualified as a certified home health
                             aide or certified nurse aide; or
 5
                           • must be currently included in a government
 6                           sponsored nurse aide registry.
 7         17.       In the event Ms. Stettner satisfied the Policy’s eligibility requirements,
 8   received qualified long-term care services from an approved Home Health Care Provider,
 9   and paid for the qualified long-term care services, Ms. Stettner would receive
10   reimbursement for her payments from John Hancock under the Policy. In other words,
11   the Policy reimbursed Ms. Stettner only for the caregiver services she actually received
12   and paid for.
13         18.       On or around the July 28, 2008, Ms. Stettner initiated a claim for long-term
14   care benefits under the Policy, contending that she required a standby assistance with
15   three Activities of Daily Living due to health issues arising from osteoarthritis and
16   bunions.
17         19.       John Hancock approved Ms. Stettner’s claim for long-term care benefits
18   under the Policy, subject to the terms and conditions of the Policy for receipt of benefits.
19         20.       Pursuant to the terms of the Policy and as a condition precedent to payment
20   of benefits, Ms. Stettner was required to submit a written form to John Hancock, known
21   as an Independent Care Provider Service Bill (“Service Bill”), to establish proof of loss
22   under the Policy. Each Service Bill details the caregiver’s name, the date on which the
23   caregiver provided services, the caregiver’s total charge for that date, the start and stop
24   times of service, and a description of the services provided.
25         21.       Between May 2010 and February 2023, Ms. Stettner periodically submitted
26   Services Bills to John Hancock, representing that various Independent Home Health Care
27   Providers, including Ms. Rubenstein, rendered qualified long-term care services to her.
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 1         22.    Service Bills were submitted by or on behalf of Ms. Stettner to John
 2   Hancock, and all Service Bills were signed by Ms. Stettner and the Independent Home
 3   Health Care Provider, 2 including Ms. Rubenstein, verifying the accuracy of the
 4   statements and information contained therein. See, e.g., Exhibit A.
 5         23.    In reliance on the truthfulness and accuracy of the Service Bills, John
 6   Hancock reimbursed Ms. Stettner a total of $641,200.01 for caregiver services allegedly
 7   provided between May 2010 and February 2023.
 8         24.    In or around May 2023, John Hancock conducted a review of Ms. Stettner’s
 9   claim to determine if she was actually receiving care from the Independent Home Health
10   Care Providers as represented in the Service Bills.
11         25.    As part of its investigation of this matter, a John Hancock Senior
12   Investigator interviewed some of the Independent Home Health Care Providers identified
13   in the Service Bills, including Ms. Rubenstein.
14         26.    The Investigator interviewed Ms. Rubenstein on July 5, 2023. 3 During this
15   interview, Ms. Rubenstein admitted that there were numerous dates on which Ms.
16   Stettner instructed her to complete, sign, and submit invoices and Services Bills, even
17   though no covered caregiving services were rendered to Ms. Stettner on those days. Ms.
18   Rubenstein also confirmed that she never travelled or went on vacation with Ms. Stettner,
19   even though John Hancock was billed for Home Health Care Services during times when
20   Ms. Stettner was travelling.
21         27.    On September 21 and 29, 2023, the Investigator interviewed another
22   independent care provider that worked for Ms. Stettner in 2011. During these interviews,
23   this provider confirmed the following: that she worked for Ms. Stettner from
24
     2
      Following the initial approval of the claim and through April 2010, Ms. Stettner received
25   long-term care services from a Home Health Agency, which John Hancock paid and
     which are not at issue in this Lawsuit at this time.
26   3 Ms. Rubenstein was listed as the caregiver on various Service Bills that Ms. Stettner


27   submitted to John Hancock from July 1, 2013 to July 29, 2022. In total, John Hancock
     paid $549,450.66 in reimbursement under the Policy for caregiver services purportedly
28   rendered by Ms. Rubenstein.


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 1   approximately February 2011 to February 2012; 4 she was hired only to walk and train
 2   her dogs and perform various household other tasks, none of which involved assisting
 3   Ms. Stettner with any Activities of Daily Living; that she completed and signed Service
 4   Bills that Ms. Stettner sent to John Hancock, and that Ms. Stettner instructed Ms. Hughes
 5   to input various dates, hours, and information in the invoices and Services Bills to make
 6   them appear legitimate; that she never travelled or went on vacation with Ms. Stettner
 7   but that Ms. Stettner instructed her to complete and sign Services Bills as if she was with
 8   Ms. Stettner; and that Ms. Stettner used some of the benefits received under the Policy to
 9   fund her expensive lifestyle.
10         28.    Following the initial interview, this provider advised the Investigator, that
11   Ms. Stettner knew she was committing fraud against John Hancock and that Ms. Stettner
12   “half threatened” this individual if she did not go along with Stettner’s scheme.
13         29.    In conjunction with its review, John Hancock also performed a social media
14   search of Ms. Stettner. A review of Ms. Stettner’s Facebook profile revealed posts and
15   pictures confirming she was not at her home receiving caregiver services from Ms.
16   Rubenstein as represented in the Service Bills, including when Ms. Stettner travelled
17   without Ms. Rubenstein to Las Vegas in or around August 2019; Miami in or around,
18   July 2014, May 2016, October 2016, April 2018, March 2019, June 2019, and November
19   2019; Aspen, Colorado in or around August 2014 and July 2016; and Europe in October
20   2015. Yet Ms. Stettner and Ms. Rubenstein repeatedly completed Services Bills attesting
21   that Ms. Rubenstein provide Home Health Care Services to Ms. Stettner on these dates,
22   when both knew this information was false. A true and correct copy of these Service
23   Bills that are indicative of Ms. Stettner’s and Ms. Rubenstein’s fraudulent scheme are
24   collectively attached hereto as Exhibit A.
25
26
27   4This provider was listed as the caregiver on various Service Bills that Ms. Stettner
     submitted to John Hancock from February 7, 2011 through February 14, 2012. In total,
28   John Hancock paid $43,073.25 in reimbursement under the Policy for caregiver services
     purportedly rendered by this individual.

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 1         30.    Ms. Stettner’s Facebook posts and pictures further demonstrated that she
 2   routinely engaged in activities outside of her home without a caregiver, which someone
 3   with disabling osteoarthritis and bunions should not be able to do, including wearing high
 4   heels, hiking, playing basketball, dancing, attending music festivals, and going to
 5   amusement parks.
 6         31.    In conjunction with its review, John Hancock further made attempts to
 7   interview Ms. Stettner, but Ms. Stettner refused to submit to an interview.
 8         32.    In sum, John Hancock’s investigation revealed a pattern of deceit,
 9   dishonesty, and fraud by Ms. Stettner and her caregivers, including Ms. Rubenstein. In
10   light of these findings, John Hancock determined that Defendants had undertaken a
11   scheme to defraud John Hancock of $641,200.91 in benefits under the Policy.
12         33.    By letter dated January 30, 2024, John Hancock demanded repayment of the
13   $644,116.91 that Defendants obtained through false and fraudulent pretenses under the
14   Policy, which included the $2,916.00 in costs incurred by John Hancock in connection
15   with its investigation of Defendants.
16         34.    However, there was no response to John Hancock’s January 30, 2024 letter,
17   nor have Defendants returned any money to John Hancock to date, necessitating the need
18   for John Hancock to retain counsel and file this lawsuit.
19
20                         FIRST CLAIM FOR RELIEF – FRAUD
21                         (By John Hancock against all Defendants)
22         35.    John Hancock restates, re-alleges, and incorporates herein by reference the
23   preceding paragraphs 1 through 34 of this Complaint as if fully set forth herein.
24         36.    Defendants knowingly and willfully misrepresented, or caused to be
25   misrepresented, material facts to John Hancock as described in the preceding paragraphs.
26         37.    The Service Bills submitted to John Hancock constitute false and fraudulent
27   statements of material fact in that Ms. Rubenstein and other caregivers did not actually
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 1   provide the qualified Home Health Care services to Ms. Stettner at her home on the dates
 2   and times stated in the Service Bills.
 3         38.    Defendants intentionally made the above-described false and fraudulent
 4   statements and concealed material facts in a calculated scheme to induce John Hancock
 5   to pay claims for home care services that were never actually rendered to Ms. Stettner.
 6         39.    John Hancock reasonably and justifiably relied on the Defendants’ false and
 7   fraudulent statements and concealments to its detriment, and John Hancock has been
 8   injured in its business and property by reason thereby in that it has paid benefits for claims
 9   that, unbeknownst to John Hancock at the time, were false, fraudulent, and not covered
10   under the Policy.
11         40.    Prior to completing its investigation in January 2024, John Hancock was
12   completely unaware of the falsity of Defendants’ misrepresentations and could not have
13   discovered Defendants’ fraud.
14         41.    As a direct and proximate result of Defendants’ false and fraudulent
15   misrepresentations, John Hancock paid $641,200.91 in benefits to which Ms. Stettner
16   was not entitled.
17         42.    Defendants’ conduct, described herein, was intended to cause injury to John
18   Hancock or was conduct carried out by Defendants with a willful and conscious disregard
19   of the rights of John Hancock, and Defendants acted with specific intent to deprive John
20   Hancock of property, legal rights, and/or to otherwise cause injury, such as to constitute
21   malice, oppression or fraud under California Civil Code section 3294, thereby entitling
22   John Hancock to punitive damages in an amount appropriate to punish or set an example
23   of Defendants.
24         43.    John Hancock incurred additional losses in an amount to be determined at
25   trial, including $2,916.00 in costs in investigating the claim.
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 1      SECOND CLAIM FOR RELIEF – NEGLIGENT MISREPRESENTATION
 2                           (By John Hancock Against all Defendants)
 3         44.    John Hancock restates, re-alleges, and incorporates herein by reference the
 4   preceding paragraphs 1 through 43 of this Complaint as if fully set forth herein.
 5         45.    Defendants had a duty to provide truthful and accurate information to John
 6   Hancock. Defendants negligently misrepresented, or caused to be misrepresented,
 7   material facts to John Hancock as described in the preceding paragraphs.
 8         46.    At the time Defendants made the representations described herein to John
 9   Hancock regarding the caregiver services purportedly provided Ms. Stettner, they had no
10   reasonable grounds for believing the statements to be true. Defendants also knew that
11   Ms. Stettner was submitting invoices for benefits to which Ms. Stettner was not entitled
12   under the Policy.
13         47.    Defendants made and perpetuated these misrepresentations to John Hancock
14   without regard for the truth of said representations, and Defendants knew or should have
15   known that John Hancock would rely on the misrepresentations to John Hancock’s
16   detriment and to Defendants’ benefit.
17         48.    John Hancock did, in fact, reasonably and justifiably rely on Ms. Stettner
18   and Defendants’ misrepresentations and concealments to its detriment.
19         49.    Prior to completing its investigation in January 2024, John Hancock was
20   completely unaware of the falsity of Defendants’ misrepresentations and could not have
21   discovered Defendants’ scheme.
22         50.    As     a   direct   and   proximate     result   of   Defendants’   fraudulent
23   misrepresentations and concealments, John Hancock paid $641,200.91 in benefits to
24   which Ms. Stettner was not entitled.
25         51.    John Hancock incurred additional losses in an amount to be determined at
26   trial, including $2,916.00 in costs in investigating the claim.
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 1              THIRD CLAIM FOR RELIEF – MONEY HAD AND RECEIVED
 2                         (By John Hancock Against all Defendants)
 3         52.    John Hancock restates, re-alleges, and incorporates herein by reference the
 4   preceding paragraphs 1 through 51 of this Complaint as if fully set forth herein.
 5         53.    Beginning in or about May 2010 through February 2023, Defendants
 6   became indebted to John Hancock, in a sum to be proved at trial, but no less than
 7   $641,200.91 for money had and received by Defendants that in equity and good
 8   conscience belongs to John Hancock.
 9         54.    Prior to completing its investigation in January 2024, John Hancock was
10   completely unaware of the falsity of Defendants’ misrepresentations and could not have
11   discovered Defendants’ scheme.
12         55.    John Hancock previously demanded repayment of the $641,200.91 in
13   benefits wrongfully secured by Defendants by letter dated January 30, 2024.
14         56.    No repayment has been made by Defendants to John Hancock to date.
15
16               FOURTH CLAIM FOR RELIEF – DECLARATORY RELIEF
17                         (By John Hancock Against all Defendants)
18         57.    John Hancock restates, re-alleges, and incorporates herein by reference the
19   preceding paragraphs 1 through 56 of this Complaint as if fully set forth herein.
20         58.    There is an actual, present and justiciable controversy between John
21   Hancock and Defendants as to the Defendants’ entitlement to the Policy benefits paid.
22   Accordingly, John Hancock requests a judicial declaration of its rights and obligations
23   relating to the Policy benefits paid to Defendants.
24
25                                     PRAYER FOR RELIEF
26         1.     Under the First and Second Claims for Relief, actual and compensatory
27   damages awarded to John Hancock in an amount to be determined at trial, with pre-
28   judgment and post-judgment interest thereon;


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 1         2.     Under the First Claim for Relief, punitive damages awarded to John
 2   Hancock in an amount appropriate to punish or set an example of Defendants;
 3         3.     Under the Third and Fourth Claim for Relief, restitution against Defendants
 4   in favor of John Hancock for all overpaid benefits under the Policy, with pre-judgment
 5   and post-judgment interest thereon;
 6         4.     Under the First, Second, Third, and Fourth Claims for Relief, attorneys’ fees
 7   and the costs of litigation; and
 8         5.     Any such other relief as the Court deems just and proper.
 9
10                                DEMAND FOR JURY TRIAL
11         John Hancock hereby requests a trial by jury.
12
13   Dated: July 12, 2024                   MAYNARD NEXSEN LLP
14
                                        By: /s/ Misty A. Murray
15                                          MISTY A. MURRAY
                                            JOHN R. HORSTMANN
16                                          Attorneys for Plaintiff
                                            John Hancock Life Insurance Company
17                                          (U.S.A.)
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                                           JOHN_HANCOCK_DOI_RESPONSE_STETTNER 000576
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                                           JOHN_HANCOCK_DOI_RESPONSE_STETTNER 000577
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                                           JOHN_HANCOCK_DOI_RESPONSE_STETTNER 000578
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                                           JOHN_HANCOCK_DOI_RESPONSE_STETTNER 000579
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                                           JOHN_HANCOCK_DOI_RESPONSE_STETTNER 000583
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                                           JOHN_HANCOCK_DOI_RESPONSE_STETTNER 000584
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                                           JOHN_HANCOCK_DOI_RESPONSE_STETTNER 000585
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                                           JOHN_HANCOCK_DOI_RESPONSE_STETTNER 000586
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                                           JOHN_HANCOCK_DOI_RESPONSE_STETTNER 000587
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                                           JOHN_HANCOCK_DOI_RESPONSE_STETTNER 001029
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                                           JOHN_HANCOCK_DOI_RESPONSE_STETTNER 001030
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                                           JOHN_HANCOCK_DOI_RESPONSE_STETTNER 001031
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                                           JOHN_HANCOCK_DOI_RESPONSE_STETTNER 000121
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                                           JOHN_HANCOCK_DOI_RESPONSE_STETTNER 000122
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